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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

        MSR MEDIA SKN LTD., et al.,

               Plaintiffs,

        v.                                              Case No. 8:24-cv-01248-KKM-AAS

        LESLIE KHAN, et al.,

               Defendants.


               DEFENDANTS’ JOINT MOTION TO DISMISS PLAINTIFFS’
             COMPLAINT BASED ON JURISDICTIONAL AND FORUM ISSUES

               Pursuant to Federal Rules of Civil Procedure 12(b)(2) and the forum non

    conveniens doctrine, Defendants Caribbean Galaxy Real Estate Corp., Caribbean

    Galaxy Real Estate Ltd., Ying Jin, Dr. Timothy Harris, the Rt. Hon. Dr. Denzil

    Douglas, CaribTrust Ltd., Faron Lawrence, and Mc Claude Emmanuel

    (“Defendants”) jointly move to dismiss Plaintiffs’ Complaint (Doc. 1 (“Compl.”)). 1




    1
     The parties to the joint motions to dismiss Plaintiffs’ Complaint, each represented by independent
    counsel on behalf of only their respective clients, file these motions jointly pursuant to the Court’s
    Order (Doc. 105) directing such “joint” filings. No inference should be drawn from these joint
    motions concerning the Defendants’ positional alignment, cooperation, or agreement for any
    purpose other than to comply with the Court’s Order. Each moving party remains independent
    and, but for the Court’s Order, would have separately moved for the requested relief. Defendants
    Leslie Khan and St. Kitts-Nevis-Anguilla National Bank Ltd. do not join these motions because
    Plaintiffs have not yet served Khan and because the National Bank filed a separate motion to
    dismiss (Doc. 106).
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                               PRELIMINARY STATEMENT

           Plaintiffs’ Complaint should be dismissed in its entirety as the Middle

    District of Florida Tampa Division (the “District”) is not the proper forum for

    Plaintiffs’ claims and the Court lacks personal jurisdiction over Defendants.

           First, the allegations in this case do not concern the District and, accordingly,

    the action should be dismissed under the doctrine of forum non conveniens. The

    conduct that forms the basis for Plaintiffs’ action allegedly occurred in the Eastern

    Caribbean, namely the Federation of Saint Christopher and Nevis (“St. Kitts”) and

    Saint Lucia; the action focuses on the St. Kitts Citizenship by Investment

    Programme (“SKN CBI Program”) and the Saint Lucia Citizenship by Investment

    Programme (“Saint Lucia CIP”); Plaintiffs and all Defendants are affiliated with

    St. Kitts or Saint Lucia in some capacity or reside there; and the vast majority of

    evidence, including documents and witnesses, are in St. Kitts or Saint Lucia. In

    sum, the Court need not expend its valuable resources because the courts of the

    Eastern Caribbean provide both an available and adequate forum for each claim

    against Defendants. The private and public factors weigh in favor of that forum,

    and Plaintiffs will suffer no prejudice by filing their action there. Indeed, they

    already have filed a related action involving similar allegations seeking similar

    relief in the courts of St. Kitts.

           Second, the Court lacks personal jurisdiction over Defendants. The Court’s




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    exercise of personal jurisdiction over Defendants is inconsistent with due process

    because the Defendants do not have the requisite minimum contacts with the

    United States. Primarily, Defendants do not reside, do not own property or other

    assets, do not have bank accounts, and do not operate any businesses in the United

    States, and Plaintiffs do not otherwise allege sufficient minimum contacts with the

    United States as to any Defendant. Consequently, maintaining this lawsuit against

    Defendants offends traditional notions of fair play and substantial justice and thus

    should not be permitted. Plaintiffs’ reliance on a group- or conspiracy-based theory

    of personal jurisdiction cannot cure these jurisdictional defects.

           For these reasons, Plaintiffs’ Complaint must be dismissed.

                                         BACKGROUND 2

           Plaintiffs are entities MSR Media SKN Limited (“MSR Media SKN”), MSR

    Hotels & Co. Limited (“MSR Hotels”), and MSR International (collectively,

    “MSR Entities”) that allegedly engaged in business in St. Kitts, and an individual,

    Martinez, who allegedly founded MSR Media SKN and MSR Hotels. (Compl. ¶¶

    14–17.) Plaintiffs are filmmakers and distributors with operations in St. Kitts. (Id.)

    MSR Media SKN and MSR Hotels are participants in the SKN CBI Program. (Id.




    2
     To avoid redundancies, Defendants provide an in-depth recitation of relevant factual allegations
    in Defendants’ Joint Motion to Dismiss for Failure to State a Claim Pursuant to Federal Rules of
    Civil Procedure 8(a)(2) and 9(b). This motion therefore provides only a brief background
    summary and identification of the parties.




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    ¶¶ 57, 62-63). Plaintiffs have no investments in Saint Lucia, do not participate in

    the Saint Lucia CIP, and allege no ownership of shares of that Program. Broadly,

    Defendants are alleged to be either foreign entities or individuals with some

    connection to the SKN CBI Program and the Saint Lucia CIP. (Id. ¶¶ 18–27.)

          At its core, the Complaint takes an everyday occurrence—an American

    investor miscalculating a market in a foreign country—and attempts to recast it as

    a story of government corruption that consumes the entirety of the SKN CBI

    program and Saint Lucia CIP. Martinez casts himself in the role of a would-be

    enforcer acting on behalf of those countries in a U.S. federal court. The 100-page

    Complaint is simply a catalog of Plaintiffs’ numerous grievances with the SKN CBI

    Program and Saint Lucia CIP.

          Essentially, Plaintiffs seek to recoup their failed investment in these foreign

    government programs through RICO litigation against ten predominantly foreign

    defendants. To that end, Plaintiffs assert RICO claims against Defendants, based

    on alleged predicate acts of money laundering, conspiracy to commit money

    laundering, and mail and wire fraud. Plaintiffs also assert tortious interference with

    contractual relationship and tortious interference with a business relationship

    claims under Florida law. Unwilling to make claims in the appropriate forum,

    Plaintiffs ask a federal court with no interest in this dispute to apply U.S. law to

    invalidate the actions of independent sovereigns. Plaintiffs’ attempt to recast their




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    failed foreign investment as a massive RICO conspiracy fails from top to bottom,

    and their claims cannot be brought in this Court or against these Defendants.

                                        ARGUMENT

    I.     This Action Should Proceed in St. Kitts and Saint Lucia before the
           Eastern Caribbean Supreme Court, High Court of Justice.

           This Court should decline to exercise jurisdiction and dismiss this case under

    the doctrine of forum non conveniens, which “authorizes a trial court to decline to

    exercise its jurisdiction, even though the court has venue, where it appears that the

    convenience of the parties and the court, and the interests of justice indicate that

    the action should be tried in another forum.” Ford v. Brown, 319 F.3d 1302, 1306–

    07 (11th Cir. 2003) (citation and internal quotation omitted); cf. Sinochem Int’l Co.

    v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 425 (2007) (stating that “a federal

    district court may dismiss an action on the ground that a court abroad is the more

    appropriate and convenient forum for adjudicating the controversy” under the

    doctrine of forum non conveniens); cf. Fresh Results, LLC v. ASF Holland, B.V., 921 F.3d

    1043, 1048 (11th Cir. 2019) (“Under the doctrine of forum non conveniens, a district

    court may decline to exercise its jurisdiction when a foreign forum is better suited

    to adjudicate the dispute.”).

           “The ‘central purpose’ of forum non conveniens is ‘to ensure that the trial is

    convenient.’” Fresh Results, 921 F.3d at 1048 (quoting Kolawole v. Sellers, 863 F.3d

    1361, 1369 (11th Cir. 2017)); see Sinochem Int’l, 549 U.S. at 430 (“Dismissal for



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    forum non conveniens reflects a court’s assessment of a range of considerations, most

    notably the convenience to the parties and the practical difficulties that can attend

    the adjudication of a dispute in a certain locality.” (citation and internal quotation

    omitted)). Accordingly, forum non conveniens may justify dismissal even where

    jurisdictional issues remain unresolved. Sinochem Int’l, 549 U.S. at 432 (“A district

    court therefore may dispose of an action by a forum non conveniens dismissal,

    bypassing    questions   of   subject-matter      and   personal   jurisdiction,   when

    considerations of convenience, fairness, and judicial economy so warrant.”).

           A defendant moving to dismiss based on forum non conveniens must show:

    “(1) an adequate alternative forum is available, (2) the public and private factors

    weigh in favor of dismissal, and (3) the plaintiff can reinstate his suit in the

    alternative forum without undue inconvenience or prejudice.” Leon v. Millon Air,

    Inc., 251 F.3d 1305, 1311 (11th Cir. 2001). When a foreign defendant seeks to

    dismiss the plaintiff’s claims on the grounds of forum non conveniens, courts afford

    greater deference to the forum choice of a U.S. plaintiff but will dismiss the case if

    it finds “positive evidence of unusually extreme circumstances” and is thoroughly

    convinced that manifest material injustice will occur. Wylie v. Island Hotel Co. Ltd.,

    774 F. App’x 574, 578 (11th Cir. 2019) (quoting La Seguridad v. Transytur Line, 707

    F.2d 1304, 1308 n.7 (11th Cir. 1983)). Where, as here, “foreign plaintiffs” are the

    real parties in interest, the “presumption in favor of their forum choice . . . ‘applies




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    with less force.’” Otto Candies, LLC v. Citigroup, Inc., 963 F.3d 1331, 1339 (11th Cir.

    2020) (quoting Sinochem Int’l, 549 U.S. at 430).

          Here, proceeding in the District would prove oppressive and vexatious to

    Defendants out of proportion to Plaintiffs’ convenience (if there is any) such that

    manifest injustice will occur if this action continues here. See id. at 1338–39. In

    contrast, proceeding before the Eastern Caribbean Supreme Court would be

    convenient for all parties. Considering all relevant factors, the Court should

    dismiss this action on forum non conveniens grounds.

          A.     The Eastern Caribbean Supreme Court Provides Both an Available
                 and Adequate Forum.

          “An alternative forum is adequate if it provides for litigation of the subject

    matter of the dispute and potentially offers redress for plaintiffs’ injuries.” Jiangsu

    Hongyuan Pharm. Co., v. DI Glob. Logistics Inc., 159 F. Supp. 3d 1316, 1329 (S.D.

    Fla. 2016); Leon, 251 F.3d at 1311 (“An alternative forum is available to the plaintiff

    when the foreign court can assert jurisdiction over the litigation sought to be

    transferred.” (citation and internal quotation omitted)); Republic of Panama v. BCCI

    Holdings (Luxembourg) S.A., 119 F.3d 935, 951 (11th Cir. 1997) (“Generally, a

    defendant satisfies the first prong of the analysis by showing that it is amenable to

    process in the other jurisdiction.” (citation and internal quotations omitted)).




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            The Eastern Caribbean Supreme Court 3 is an appropriate alternative forum

    because it has jurisdiction over this dispute and provides Plaintiffs with an adequate

    remedy. (Declaration of Midge Morton, Doc. 116-1 (“Morton Decl.”), ¶¶ 6, 16). 4

            That condition is satisfied here because Defendants reside, work, conduct

    business, are registered, or can generally be found in St. Kitts or in Saint Lucia.

    (Compl. ¶¶ 19–25, 27.) Defendants are thus amenable to process, and the Eastern

    Caribbean Supreme Court can properly assert jurisdiction. (Morton Decl. ¶ 6.)

    Thus, that forum is available to Plaintiffs.

            Next, “[a]n alternative forum is adequate if it provides for litigation of the

    subject matter of the dispute and potentially offers redress for plaintiffs’ injuries.”

    King v. Cessna Aircraft Co., 562 F.3d 1374, 1382 (11th Cir. 2009). The alternative

    forum need “not be a perfect forum” but rather must offer “at least some relief.”

    Leon, 251 F.3d at 1311. Inconvenience to litigants alone does not render a forum


    3
      The Eastern Caribbean Supreme Court and related trial and appellate courts exercise jurisdiction
    over the Organization of Eastern Caribbean States (“OECS”), which includes both St. Kitts and
    Saint Lucia. (Morton Decl. ¶ 7.) That court can interpret and apply the laws of the member states
    (meaning both St. Kitts and Saint Lucia), decide civil and criminal matters, and hear appeals. Id.
    Because the courts in St. Kitts and Saint Lucia both operate under the OECS legal system,
    proceeding in either Circuit would prove substantially similar and more appropriate than
    proceeding in this District. While most of the allegations and parties involve St. Kitts, and as
    Plaintiffs have no basis or standing to bring claims related to Saint Lucia, this motion focuses upon
    the Eastern Caribbean Supreme Court, in St. Kitts as the appropriate forum. Defendants reserve
    all claims and defenses that may arise in St. Kitts.
    4
      A court may properly consider expert declarations or affidavits to determine foreign law at the
    motion to dismiss phase. Fed. R. Civ. P. 44.1 (providing that court can consider “any relevant
    material or source, including testimony, whether or not submitted by a party or admissible under
    the Federal Rules of Evidence” in determining foreign law); see also Prewitt Enters. V. OPEC, 353
    F.3d 916, 923 n.11 (11th Cir. 2003) (finding that trial court properly relied on expert affidavits and
    testimony to determine Austrian law in deciding motion to dismiss).



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    inadequate, but “extreme amounts of partiality or inefficiency may render the

    alternative forum inadequate.” Id. at 1312.

           District courts have routinely evaluated the legal system of St. Kitts and

    found it an adequate alternative forum. See, e.g., Zarrelli v. Ross Univ. Sch. of

    Veterinary Med., No. 22 C 1277, 2022 WL 4094176, at *2–3 (N.D. Ill. Sept. 7, 2022)

    (finding St. Kitts an adequate alternative forum for breach of contract and

    negligence claims); Suhail v. Trans-Americainvest (St. Kitts), Ltd., No. 14-

    7386(MAS)(DEA), 2015 WL 4598809, at *3 (D.N.J. July 29, 2015) (finding that

    St. Kitts provided plaintiff with adequate redress); Wechsler v. Four Seasons Hotels

    Ltd., No. 13 Civ. 8971(RJS), 2014 WL 2604109, at *4 (S.D.N.Y. June 10, 2014)

    (finding St. Kitts an adequate alternative forum for personal injury claims sounding

    in negligence); Archut v. Ross Univ. Sch. of Veterinary Med., No. 10-1681 (MLC), 2013

    WL 5913675, at *4-6 (D.N.J. Oct. 31, 2013) (finding St. Kitts an adequate

    alternative forum for a common law breach of contract claim); Clarke v. Marriott

    Int’l, Inc., No. 2008-086, 2013 WL 4758199, at *7–8 (D.V.I. Sept. 4, 2013) (finding

    St. Kitts an adequate alternative forum because it applies a common law system

    based, inter alia, on the British common law).

           Nor is there any indication that St. Kitts will show “extreme amounts of

    partiality or inefficiency,” as evidenced by Plaintiffs initiating related litigation in

    that forum. Leon, 251 F.3d at 1312. As St. Kitts offers Plaintiffs more than “at




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    least some relief,” those courts provide an adequate alternative forum. Id at 1311.

          Importantly, “a plaintiff’s inability to assert a RICO claim in the foreign

    forum does not preclude forum non conveniens dismissal.” Don’t Look Media LLC v.

    Fly Victor Ltd., 999 F.3d 1284, 1299 (11th Cir. 2021) (quoting BCCI Holdings, 119

    F.3d at 952). The fact that particular claims or “beneficial litigation procedures”

    are not available “does not render an alternative forum inadequate.” Satz v.

    McDonnell Douglas Corp., 244 F.3d 1279, 1283 (11th Cir. 2001) (quoting Borden, Inc.

    v. Meiji Milk Prods. Co., 919 F.2d 822, 829 (2d Cir. 1990)); see Jiangsu Hongyuan

    Pharm. Co., 159 F. Supp. 3d at 1329 (“The adequacy of the forum also does not

    depend on the existence of the identical cause of action in the other forum.”

    (citation and internal quotation omitted)). It is also irrelevant whether litigating in

    the foreign forum would result in a change in law unfavorable to the plaintiffs. See

    BCCI Holdings, 119 F.3d at 951. Instead, the test is whether the remedy provided

    by the alternative forum is “so clearly inadequate or unsatisfactory that it is no

    remedy at all.” Piper Aircraft Co. v. Reyno, 454 U.S. 235, 254 (1981). Plaintiffs’

    RICO claims are predicated on alleged fraud and breach of contract, both of which

    are recognized in St. Kitts and Saint Lucia and for which damages are available,

    (Morton Decl. ¶¶ 14-15), making the Eastern Caribbean Supreme Court an

    adequate alternative forum.




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            B.    Private and Public Factors Weigh in Favor of the Eastern
                  Caribbean Supreme Court as the Appropriate Forum.

            “The second part of the forum non conveniens analysis” involves “balancing

    of the private and public factors.” Fresh Results, 921 F.3d at 1049. The private

    factors “pertain to the interests of the participants in the litigation.” Id. (citation

    omitted). These include “the relative ease of access to sources of proof,” ability to

    compel witnesses, the possibility to view the premises, the enforceability of a

    judgment, and “all other practical problems that make trial of a case easy,

    expeditious and inexpensive.” Id. (citation and quotations omitted). Access to

    evidence is the most important private interest of the litigants. Ford, 319 F.3d at

    1308.

            The public factors “pertain to the relative interests of the two fora,” Fresh

    Results, 921 F.3d at 1049 (citation omitted), like local court congestion, the local

    interest in deciding localized controversies, avoiding unnecessary problems in

    conflicts of laws or the application of foreign law, the unfairness of burdening

    citizens in an unrelated forum with jury duty, and whether foreign law would

    apply. See Piper Aircraft, 454 U.S. at 241 n.6 (quoting Gulf Oil Corp v. Gilbert, 330

    U.S. 501, 508 (1947)); Fresh Results, 921 F.3d at 1049; Tazoe v. Airbus S.A.S., 631

    F.3d 1321, 1333 (11th Cir. 2011). In considering the appropriate forum, a district

    court must “consider all relevant private and public factors.” Fresh Results, 921 F.3d

    at 1052.



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                i.      Private Factors

          The private factors weigh heavily in favor of St. Kitts and Saint Lucia. Most

    notably, virtually all the evidence, including documents, witnesses and physical

    sites, is in St. Kitts. Indeed, all Defendants are affiliated with St. Kitts and Saint

    Lucia in some capacity or reside there, as do the two non-party alleged conspirators

    (Ernest Hilaire; Sylvester Anthony). (Compl. ¶¶ 18–29.) Both the jail and hotel

    development projects are in St. Kitts. (Id. ¶¶ 83, 85–87.) As the Eastern Caribbean

    Supreme Court has greater access to sources of proof, which is “perhaps the most

    important private interest,” dismissal is strongly favored. Ford, 319 F.3d at 1308.

    Further, compelling witnesses from the Eastern Caribbean to appear in the District

    would prove costly and challenging, if not impossible. By contrast, litigation in St.

    Kitts would be far more expeditious and efficient, particularly because Plaintiffs

    themselves maintain a significant presence in St. Kitts. MSR Media SKN and MSR

    Hotels are both incorporated, registered to do business, headquartered, and

    conducting business there (Compl. ¶¶ 14–15), and Martinez has spent considerable

    time filming several movies there beginning as early as December 2020 (Id. ¶¶ 60–

    66). All private factors therefore favor proceeding in St. Kitts.

               ii.      Public Factors

          The public factors also weigh heavily in favor of proceeding before the

    Eastern Caribbean Supreme Court, High Court of Justice (“Eastern Caribbean




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    Supreme Court”). Primarily, this case involves claims against ten Defendants—at

    least nine of whom have no ties to the District—arising almost entirely from alleged

    acts in the Eastern Caribbean with no local controversy or local interest that need

    be decided here. Plaintiffs’ claims expressly turn on matters of St. Kitts and Saint

    Lucia law that the Eastern Caribbean Supreme Court is better suited to resolve. At

    its core, this case is about the operation and legality of the SKN CBI Program and

    Saint Lucia CIP, and it is between parties who are based in or have strong ties to

    St. Kitts and Saint Lucia. It would be unfair to deprive the people of St. Kitts and

    Saint Lucia of the opportunity to have this consequential political dispute decided

    in their own courts. Further complicating this case for the Court is the potential

    for conflicts-of-law issues and the application of foreign law, including as to

    immunity.

          Plaintiffs should not burden the citizens of the District with jury duty for a

    case that is not grounded here. Nor should Plaintiffs burden this Court since the

    judges of the District remain overburdened and congested with some of the nation’s

    highest caseloads per judge while attempting to address cases and controversies

    that actually arise in the District and substantially affect its citizens. See Max

    Marbut, Middle District of Florida among nation’s top caseloads, Jacksonville Daily

    Record                      (Jan.                    27,                     2023),

    https://www.jaxdailyrecord.com/news/2023/jan/27/middle-district-of-florida-




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    among-nations-top-caseloads/. Plaintiffs cannot justify burdening this Court or

    District jurors with resolving this entirely foreign dispute about whether foreign

    companies and foreign government officials complied with foreign law.

           Indeed, many Defendants are St. Kitts public officials or instrumentalities,

    and forcing such high-ranking foreign officials to take time away from their work

    to travel here (assuming that would be possible) would unjustifiably burden the St.

    Kittian and Saint Lucian governments. Thus, dismissal is not only appropriate,

    but it is dictated by principles of international comity. See Piper Aircraft, 454 U.S.

    at 260–61; see also Esfeld v. Costa Crociere, S.P.A., 289 F.3d 1300, 1312 (11th Cir.

    2002) (“[F]ederal courts necessarily must analyze the interest that the foreign

    country has in the dispute, an analysis that may raise issues of international

    comity.”). The public factors therefore support St. Kitts as the appropriate forum

    for this action.

           C.     Plaintiffs’ Choice of Forum Is Entitled to Less Deference Than the
                  Choice of a U.S. Citizen.

           Plaintiffs include entities doing business in St. Kitts, Defendants include

    current and former government officials there, and Plaintiffs allege that the conduct

    at issue—all of which occurred in St. Kitts and Saint Lucia—violated St. Kitts law

    and Saint Lucia law. (See, e.g., Compl. ¶¶ 6, 14–17, 74, 107, 133). As noted, the

    presumption in favor of a plaintiff’s forum choice applies with less force to a foreign

    plaintiff than to a plaintiff who is a U.S. citizen. See Otto Candies, 963 F.3d at 1339.




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    Here, the principal Plaintiffs are foreign entities whose choice of forum should

    receive “less” deference: MSR Media SKN and MSR Hotels, both of which are

    incorporated and do business in St. Kitts. The other two Plaintiffs—based in the

    United States—appear to be little more than window dressing, likely added to the

    Complaint in an attempt to manufacture some sort of connection to the United

    States. These two U.S.-based Plaintiffs are Martinez, the individual founder of

    MSR Media SKN and MSR Hotels, and MSR International, a Delaware entity,

    which allegedly distributes Plaintiffs’ St. Kitts-based films. Critically, neither

    Martinez nor MSR International allege any injury at all.

           Indeed, Plaintiffs allege that “MSR Media SKN was granted CBI shares” by

    the St. Kitts Investment Promotion Agency that it allegedly has been unable to sell.

    (Compl. ¶ 63.) Plaintiffs also allege that MSR Hotels purchased the OTI Hotel in

    December 2022, at the suggestion of members of the then current St. Kitts

    government. (Id. ¶¶ 66.) But Plaintiffs make no specific allegation that Martinez

    or MSR Media International was damaged by any Defendants’ conduct, or even

    had a contract to participate in the CBI or CIP or to sell shares under either

    program. Instead, the Complaint repeatedly uses the singular term “MSR Entities”

    to avoid alleging what specific contracts, rights, or entitlements each specific Plaintiff

    allegedly had with the St. Kitts government (and alleges no such contracts, rights,

    or entitlements with the Saint Lucia government). For example, paragraph 66 of




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    the Complaint alleges that “the MSR Entities” were “recognized as Approved

    Public Benefactors and granted 600 CBI shares.” (Id. ¶ 63.) But the Complaint

    earlier concedes that only MSR Media SKN and MSR Hotels were designated

    “Approved Public Benefactors.” (Id. ¶ 57.) The St. Kitts government website

    confirms this, showing that only the foreign plaintiffs MSR Media SKN and MSR

    Hotels—are “Approved Public Benefactors,” not the U.S.-based Plaintiffs, MSR

    International or Martinez. 5

           Martinez and MSR International cannot assert an injury based on an

    ownership in or corporate relationship with the entities in St. Kitts. See D’Antonio

    v. Borough of Allendale, No. 22-1329, 2022 WL 10965674, at *2 (3d Cir. Oct. 19,

    2022); see also Smith Setzer & Sons, Inc. v. S.C. Procurement Rev. Panel, 20 F.3d 1311,

    1317 (4th Cir. 1994) (a shareholder lacks standing to bring claims belonging to a

    corporation); Jones v. Niagara Frontier Transp. Auth., 836 F.2d 731, 736 (2d Cir.

    1987) (a sole shareholder “does not have standing to assert claims alleging wrongs

    to the corporation.”).

           In sum, Plaintiffs fail to allege that the U.S. Plaintiffs—MSR International

    or Martinez—suffered any cognizable injury. As a result, this Court should treat



    5
      St. Kitts and Nevis Citizenship by Inv. Programme, https://ciu.gov.kn/public-benefit-option/
    (last visited Nov. 1, 2024). “Courts generally take judicial notice of the contents of government
    publications and website materials,” and it is appropriate to do so for this limited purpose here.
    Patagonia, Inc. v. Worn Out, LLC, No. 22-cv-23858, 2023 WL 3172530, at *6 (S.D. Fla. 2023)
    (collecting authorities); Fed. R. Evid. 201.




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    the Complaint as if it was filed by the two foreign Plaintiffs, whose choice of forum

    is entitled to “less deference” than the choice of a plaintiff who is a United States

    citizen. See Otto Candies, 963 F.3d at 1338–39.

           D.      Plaintiffs can Reinstate without Undue Inconvenience or
                   Prejudice.

           Finally, Plaintiffs will face no obstacles in reinstating the action in St. Kitts

    or Saint Lucia. As indicated, the Eastern Caribbean Supreme Court and related

    trial and appellate courts exercise jurisdiction over the OECS, which includes both

    St. Kitts and Saint Lucia, and can interpret and apply the laws of member states.

    (Morton Decl. ¶ 6.) In fact, Plaintiffs have already retained counsel in St. Kitts and

    availed themselves of the OECS court system by pursuing related proceedings

    against the current St. Kitts government administration based on substantially

    similar allegations concerning CBI applications in what Plaintiffs explicitly allege

    is “the proper forum.” (See (Compl.) ¶ 3 n.2.) 6 Plaintiffs voluntary use of the courts



    6
     In that action, MSR Media SKN applied for judicial review against current St. Kitts Prime
    Minister Terrance Drew in the High Court, St. Kitts Circuit. See MSR Media SKN Ltd. v. Hon.
    Terrance Drew, No. SKBHCv2024/0087. In that proceeding, MSR Media SKN seeks an order of
    mandamus requiring PM Drew to cancel certificates of citizenship issued in connection with
    Galaxy SKN’s jail project. He seeks similar relief here. That action remains pending.

    Separately, in November 2023, Martinez and MSR SKN disseminated a letter falsely accusing
    Caribbean Galaxy, Jin, Dr. Harris, Khan, and others of committing crimes, including fraud and
    money laundering, as part of a scheme to unlawfully sell CBI shares. See In re Martinez, No. 24-
    cv-20492, Doc. 1-7 at 17 (S.D. Fla. filed Feb. 7, 2024). To hold Martinez and MSR Media SKN
    accountable, Galaxy SKN, Jin, and Harris sued for defamation in the Eastern Caribbean Supreme
    Court in St. Kitts. Id., Doc. 34 at 2. Counsel for Defendants understand that Martinez and MSR
    did not contest jurisdiction in that action.



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    in St. Kitts demonstrates both their ability and willingness to seek redress in that

    forum. See Lisa, S.A. v. Gutierrez Mayorga, 441 F. Supp. 2d 1233, 1238 (S.D. Fla.

    2006) (considering plaintiff’s initiation of several lawsuits in Guatemala in favor of

    finding Guatemala an adequate alternative forum). Plaintiffs therefore cannot

    plausibly contend that pursuing claims against these Defendants for allegedly

    related actions causes them any inconvenience or prejudice. Additionally, the risk

    of an “inconsistent judgment” in the related proceedings further supports

    dismissing this action and allowing it to proceed in the forum with the closest

    connection to the dispute–St. Kitts. See Allstate Life Ins. Co. v. Linter Grp. Ltd., 994

    F.2d 966, 1002 (2d Cir. 1993).

           Based on the foregoing, the Court should dismiss this action on forum non

    conveniens grounds.

    II.    The Court Lacks Personal Jurisdiction over Defendants.

           Lastly, the Court lacks personal jurisdiction over any Defendant. Whether

    personal jurisdiction exists is a question of law. Oldfield v. Pueblo de Bahia Lora, S.A.,

    558 F.3d 1210, 1217 (11th Cir. 2009). Plaintiffs bear the burden of establishing a

    “prima facie case of personal jurisdiction” by presenting “enough evidence to

    withstand a motion for directed verdict.” Stubbs v. Wyndham Nassau Resort & Crystal




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    Palace Casino, 447 F.3d 1357, 1360 (11th Cir. 2006). 7 “A federal court’s jurisdiction

    over a defendant depends on the existence of a constitutionally sufficient

    relationship between the defendant and the forum, and the defendant’s amenability

    to service of process in that court.” Brink’s Mat Ltd. v. Diamond, 906 F.2d 1519,

    1521 (11th Cir. 1990). Here, Plaintiffs fail to establish a basis for personal

    jurisdiction over Defendants under Rule 4(k)(2) because no constitutionally

    sufficient relationship exists between any Defendant and the United States.

           “In a narrow class of ‘federal question’ cases, the jurisdictional reach of the

    court is extended by Rule 4(k)(2), ‘which functions as a sort of federal long-arm

    statute.’” In re Lupron Marketing & Sales Practices Litig., 245 F. Supp. 2d 280, 288

    (D. Mass. 20003) (quoting United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 36 (1st

    Cir. 1999)); see Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir.

    2000) (classifying Rule 4(k)(2) as “the national long-arm statute”). Rule 4(k)(2)

    permits the aggregation of a foreign defendant’s nationwide contacts where the

    defendant is not amenable to jurisdiction in any specific state. Oldfield, 558 F.3d at

    1218. The claim must arise under federal law and the exercise of jurisdiction must



    7
      Plaintiffs have not met their burden. To the extent necessary for the Court’s analysis, however,
    Defendants submit declarations asserting facts contrary to Plaintiffs’ allegations. See Notice of
    Filing Declarations (Doc. 116) and accompanying exhibits. This shifts the burden back to Plaintiffs
    to produce evidence supporting personal jurisdiction. See Don't Look Media, 999 F.3d at 1292
    (“When a defendant submits non-conclusory affidavits to controvert the allegations in the
    complaint, the burden shifts back to the plaintiff to produce evidence to support personal
    jurisdiction.”).




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    be “consistent with the Constitution and laws of the United States.” Id.

           Jurisdiction is consistent with the Constitution and laws of the United States

    if it comports with due process; mainly, the Fifth Amendment’s Due Process

    Clause. 8     Consol. Dev. Corp., 216 F.3d at 1291.              “The exercise of personal

    jurisdiction comports with due process if the non-resident defendant has established

    ‘certain minimum contacts with the forum such that the maintenance of the suit

    does not offend traditional notions of fair play and substantial justice.’” Oldfield,

    558 F.3d at 1220 (quoting Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

    408, 414 (1984)). For purposes of Rule 4(k)(2), the United States provides the

    applicable forum for the minimum contacts analysis. Id. at 1220.

           Though Rule 4(k)(2) was implemented to fill a gap in the enforcement of

    federal law in international cases, it is a “rare occurrence” for a court to invoke

    jurisdiction under Rule 4(k)(2). In re Takata Airbag Prods. Liab. Litig., 396 F. Supp.

    3d 1101, 1150 (S.D. Fla. 2019).

           Because the exercise of personal jurisdiction over Defendants is inconsistent

    with due process, Plaintiffs’ claims should be dismissed.




    8
      “[C]ourts should analyze personal jurisdiction under the Fifth Amendment using the same basic
    standards that apply under the Fourteenth Amendment.” Herederos de Roberto Gomez Cabrera, LLC
    v. Teck Res. Ltd., 535 F. Supp. 3d 1299, 1306 (S.D. Fla. Apr. 27, 2021), aff’d 43 F.4th 1303, 1308
    (11th Cir. 2022). The lone difference between the Amendments’ due process analyses” is that the
    “applicable forum” under the Fifth Amendment is the United States, “not the state in which the
    district court sits.” Id. at 1310.



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           A.     Plaintiffs Cannot Establish Personal Jurisdiction as to Any
                  Individual Defendant.

                  i.     General Jurisdiction

           The Court’s exercise of general personal jurisdiction under Rule 4(k)(2)

    requires a showing of contacts between a defendant and the United States that are

    “pervasive, continuous, and systematic.” Fraser v. Smith, 594 F.3d 842, 850 (11th

    Cir. 2010). By contrast, the Eleventh Circuit has made clear that, “[w]hen a

    defendant’s contacts with the United States are confined to intermittent purchases,

    limited self-promotion, and a few narrow relationships with American businesses,

    the exercise of nationwide general jurisdiction over that defendant [under Rule

    4(k)(2)] would ‘offend traditional notions of fair play and substantial justice[.]’” Id.

    (quoting Helicopteros, 466 U.S. at 414). The provision of services to American

    citizens outside the United States likewise fails to “establish ‘continuous and

    systematic general business contacts between the defendant and the forum,’” as

    “[a] defendant’s business contacts with foreign tourists are not, by themselves,

    contacts with the tourists’ home forum.” Id. at 849 (quoting Consol. Dev. Corp., 216

    F.3d at 1292). Nor, as explained below, should a relationship with a correspondent

    bank provide a basis for general jurisdiction.

                  ii.    Specific Jurisdiction

           To establish specific jurisdiction over Defendants under Rule 4(k)(2),

    Plaintiffs must satisfy the following three elements of the minimum-contacts test



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    with the nation as a whole: (1) the Defendant must have contacts related to or

    giving rise to Plaintiffs’ claims; (2) the Defendant must, through those contacts,

    have purposefully availed himself of forum benefits; and (3) the Defendant’s

    contacts with the forum must be such that the Defendant could reasonably

    anticipate being haled into court here. Fraser, 594 F.3d at 850; Associated Transp.

    Line, Inc. v. Prods. Fitosanitarios Proficol El Carmen, S.A., 197 F.3d 1070, 1074 (11th

    Cir. 1999). Importantly, in cases involving foreign defendants, courts consider the

    unique burdens thrust upon one who must defend oneself in a foreign legal system,

    as the primary concern of the fairness analysis is the burden placed on the

    defendant. Oldfield, 558 F.3d at 1221.

                   iii.    Individual Defendants

                           a.     Caribbean Galaxy and Ying Jin

           Both Galaxy SKN and Galaxy SLU are Chinese companies with principal

    places of business outside of the United States. (Compl. ¶¶ 19–20.) Jin is likewise

    a Chinese citizen. 9 (Id. ¶ 21.) Plaintiffs do not allege that Caribbean Galaxy have

    any offices, business licenses, development projects, or other business dealings in

    Florida or anywhere else in the United States. Instead, Plaintiffs claim that

    Caribbean Galaxy and Jin’s alleged wire transfers from one foreign bank to another


    9
       Plaintiffs asserted that Jin has conducted business from New York and California and
    “maintains a residence in California” (Compl. ¶¶ 21, 39b). However, more recently, Plaintiffs
    have contended that Jin “does not appear to reside” at this California address. (Doc. 76 at 11.)



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    through an intermediary U.S. bank is enough to satisfy due process.10 But that

    jurisdictional theory does not withstand scrutiny.

           “[W]iring money into [the forum] is insufficient contact with [the forum] to

    justify personal jurisdiction and comply with the Due Process Clause” even when

    the forum is the end destination for the wired funds. Daccache v. Quiros, No. 16-

    21575-CIV-MORENO, 2018 WL 2248409, at *15 (S.D. Fla. May 15, 2018)

    (collecting cases), vacated on other grounds, sub. nom. Daccache v. Raymond James Fin.,

    Inc., 2019 WL 9654842 (S.D. Fla. Mar. 5, 2019). Here, Plaintiffs allege even less

    than that insufficient forum contact: they assert personal jurisdiction over

    Caribbean Galaxy and Jin based on alleged wire transfers from one foreign bank

    to another, with the funds momentarily passing through Florida as an intermediate

    step. That “fortuitous” and “attenuated” connection to the forum is not enough.

    Madara v. Hall, 916 F.2d 1510, 1516 (11th Cir. 1990); see Casio Comput. Co., Ltd. v.

    Sayo, 2000 WL 1877516, at *26 (S.D.N.Y. Oct. 13, 2000) (rejecting argument that

    defendants’ alleged wire transfers “to, from, or through” the forum “satis[fied] the

    level of minimum contacts required” by due process). Indeed, at least one court in

    this Circuit has squarely held that a defendant “did not purposefully avail itself of


    10
       “RICO’s nationwide service of process provision,” 18 U.S.C. § 1965, “does not supply a
    statutory basis for personal jurisdiction,” because, among other reasons, Plaintiffs “did not serve”
    Caribbean Galaxy or Jin “in accordance with that provision.” Don’t Look Media, 999 F.3d at 1292–
    94 (holding that § 1965 “does not authorize service outside the United States” and that defense
    counsel’s acceptance of service on behalf of foreign defendant “did not waive the right to challenge
    personal jurisdiction”).



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    the privilege of conducting activities” in the forum when its “sole ‘contact’” with

    the forum “was to route, via wire transfer the monies used to purchase shares”

    through that state “for further transfer to [an] offshore account.” Steinberg v. A

    Analyst Ltd., No. 04-60898-CIV, 2009 WL 838989, at *5 (S.D. Fla. Mar. 26,

    2009). 11 The same is true here.

            Plaintiffs’ vague allegations that Caribbean Galaxy sold CBI and CIP shares

    “in the United States, including through U.S.-based servicers” are similarly

    inadequate. 12 (Compl. ¶¶ 35b, 37b.) They supply no facts about the “quality,

    nature, and extent of the activity in the forum” that would support an inference

    that this purported U.S. contact was more than sporadic or attenuated. Sea-Lift,

    792 F.2d at 993. Indeed, “the existence of a contract between the foreign defendant

    and a resident of the forum” does not “automatically amount to ‘purposeful

    availment,’” especially without allegations concerning “negotiations of important

    terms” or some “in-forum performance.” Id. at 993–94. If anything, Plaintiffs

    suggest that “U.S.-based servicers”—not Caribbean Galaxy—availed themselves of

    the forum. Plaintiffs’ vague allegations that Jin “conducted business” on


    11
       Although Steinberg applied New York’s long-arm statute, that statute is “construed[] … to the
    limits of due process,” so the analysis applies equally here. Id. at *4.
    12
       Similarly, Plaintiffs allege that Khan, Dr. Harris, Dr. Douglas, and Jin had “phone calls, …
    meetings, and in-person discussions about the CBI program and associated scheme.” (Compl.
    ¶ 73.) Aside from conclusory allegations that these individuals met once in New York while
    participating in the United Nations General Assembly, Plaintiffs do not allege any detail about
    the substance of these supposed calls, meetings, and discussions, or when and where they
    occurred. (Id.) This, too, is insufficient. Sea-Lift, Inc. v. Refinadora Costarricense de Petroleo, S.A.,
    792 F.2d 989, 993 (11th Cir. 1986).



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    unspecified occasions in the United States likewise fail (Compl. ¶¶ 35c, 39b),

    because “[t]he mere ‘foot-fall’ of the defendant’s agents ‘on the State’s soil’ does

    not … invoke the benefits and protections of the laws of the forum.” Sea-Lift, 792

    F.2d at 993. Plaintiffs’ claims also do not arise out of or relate to Caribbean Galaxy

    and Jin’s purported contacts with the United States. Oldfield, 558 F.3d at 1222-23

    (“Necessarily, the contact must be a ‘but-for’ cause of the tort[.]”); Associated Transp.

    Line, 197 F.3d at 1074–75.

           Plaintiffs have no alternative basis on which to establish personal

    jurisdiction. In intentional torts cases, courts “may apply” the “effects test”

    articulated in Calder v. Jones, 465 U.S. 783 (1984), “in lieu of, or in addition to,” the

    traditional due process test. Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339,

    1356 (11th Cir. 2013). Under the “effects test,” a nonresident’s tortious act can

    justify jurisdiction if “the tort (1) was intentional; (2) was aimed at the forum …;

    and (3) caused harm that the defendant should have anticipated would be suffered

    in the forum.” Id. (alterations adopted).

           Plaintiffs cannot satisfy the effects test, either. Plaintiffs do not plausibly

    allege that Caribbean Galaxy or Jin (or any other Defendant) “aimed” their

    conduct “at the forum,” that they committed any tort in the forum, or that they

    “caused harm that they should have anticipated would be suffered in the forum.”

    Id. Plaintiffs do not allege that they are domiciled in the forum, and in any event,




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    “mere injury to a forum resident is not a sufficient connection to the forum.”

    Walden v. Fiore, 571 U.S. 277, 290 (2014). No matter which due process test applies,

    Plaintiffs cannot meet it. Plaintiffs’ claims should therefore be dismissed against

    Caribbean Galaxy and Jin. 13

                           b.      Dr. Harris

           Similarly, Plaintiffs cannot establish personal jurisdiction as to Dr. Harris,

    who has no ties to the United States.

           Plaintiffs proffer three categories of purported contacts by Dr. Harris: (1) the

    alleged receipt of cash that may have passed through another party’s correspondent

    account, (2) alleged attendance at one meeting in the United States at which the

    SKN CBI Program was allegedly discussed, and (3) “conducting business” related

    to the enterprise while in New York. (Compl. ¶ 41.) As an initial matter, Dr. Harris

    maintains no bank account in the United States. (Declaration of Dr. Timothy

    Harris, Doc. 116-2 (“Harris Decl.”), ¶ 3.) Plaintiffs allege instead that he received

    cash payments that were transferred into the country by another party through a


    13
       Caribbean Galaxy and Jin’s intervention in Plaintiffs’ § 1782 actions does not subject them to
    jurisdiction here. In those proceedings, Caribbean Galaxy and Jin expressly reserved their right
    to raise all defenses in this action, including for lack of jurisdiction and improper venue. In re
    Martinez, Doc. 39 at 3; see Aldini AG v. Silvaco, Inc., No. 21-cv-06423, 2022 WL 20016826, at *12
    (N.D. Cal. Aug. 3, 2022) (finding defendants did not waive personal jurisdiction defense by
    intervening in § 1782 action where defendants expressly reserved right to raise personal
    jurisdiction defense in separate case); Santiago v. NSI Ins. Grp., Inc., No. 05-22307-CIV, 2006 WL
    8433177, at *6 (S.D. Fla. July 10, 2006) (defendant did not consent to personal jurisdiction by
    seeking relief in separate case given the defendant’s “limited appearance and its posture” in the
    other case).




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    correspondent account. (Compl. ¶ 41(b).) As this contemplates no actual action

    by Dr. Harris, it cannot serve to establish purposeful availment. See Spetner v.

    Palestine Inv. Bank, 70 F.4th 632, 643 (2d Cir. 2023) (“Simply transacting in U.S.

    dollars does not make a defendant bank amenable to suit in New York.”).

           Furthermore, even if Plaintiffs had alleged that Dr. Harris utilized a

    correspondence account, jurisdiction still does not attach because the use of a

    correspondent account, standing alone, does not confer jurisdiction. See, e.g., Hau

    Yin To v. HSBC Holdings PLC, No. 15CV3590, 2017 WL 816136, at *7 n.6

    (S.D.N.Y. 2017) (dismissing for lack of personal jurisdiction where wiring of U.S.

    dollars through correspondent accounts was “passive, rather than ‘integral’ to the

    alleged” fraud); Cmty. Fin. Grp., Inc. v. Stanbic Bank Ltd., No. 14cv5216, 2015 WL

    4164763, at *4 (S.D.N.Y. July 10, 2015) (routing of U.S. dollar wire payment

    through N.Y. correspondent account was “adventitious,” not purposeful use of

    forum).

           Plaintiffs next allege that Dr. Harris attended a meeting in New York to

    discuss resolving a lawsuit with the exclusive marketing agent for the SKN CBI

    Program, CS Global. (Compl. ¶ 100.) This meeting appears to have no connection

    or relevance to the purported scheme with Caribbean Galaxy. 14 Further, although


    14
      This allegation cuts against the Complaint’s premise. Plaintiffs allege that CS Global’s removal
    would assist Caribbean Galaxy. (Id. ¶ 99.) Yet, Plaintiffs also allege that Dr. Harris advocated
    for the dismissal of the suit that would have removed CS Global from its position, undermining




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    Plaintiffs do not put a date on the meeting, such meeting likely predated Plaintiffs’

    entry into the SKN CBI Program. Plaintiffs and Dr. Harris overlapped only three

    months between May and August 2022. Thus, Plaintiffs’ claims cannot have arisen

    from this meeting.

           This one meeting is also insufficient to establish jurisdiction in the United

    States. To reiterate, the “mere ‘foot-fall’” of the defendant on the forum’s soil does

    not invoke the benefits and protections of the laws of that forum. Sea Lift, 792 F.2d

    at 993. The inquiry of whether contacts with a forum relate to a claim requires an

    analysis of “the direct causal relationship among ‘the defendant, the forum, and the

    litigation.’” Oldfield, 558 F.3d at 1222 (quoting Helicopteros, 446 U.S. at 414).

           Plaintiffs’ conclusory claims that Dr. Harris “conducted business, including

    from New York” likewise lacks the requisite specificity to establish jurisdiction.

    Leon v. Continental AG, 301 F. Supp. 3d 1203, 1216 n.6 (S.D. Fla. 2017) (finding

    allegations that defendant conducted “substantial business” in the district too

    devoid of specificity to state a prima facie case for jurisdiction); Bulpit, LLC v.

    DeCanio, No. 2:13-CV-14119, 2013 WL 12126313, at *4 (S.D. Fla. June 7, 2013)

    (allegations that defendant conducted business in all fifty states insufficient to

    establish personal jurisdiction); Vision Int'l Prod. Inc. v. Liteco S.R.L., No. 06-61462-




    any claim that Dr. Harris and Caribbean Galaxy were working together for a common purpose in
    a RICO enterprise. (Id. ¶ 100.)




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    CIV, 2007 WL 9700539, at *5–7 (S.D. Fla. Aug. 8, 2007) (finding formulaic

    recitation that defendant offered goods for sale in the district insufficient to state

    jurisdiction). Plaintiffs therefore failed to establish personal jurisdiction as to Dr.

    Harris.

                         c.     Dr. Douglas

           Likewise, Dr. Douglas does not have the requisite minimum contacts with

    the United States, and consequently, the maintenance of this lawsuit against him

    would offend traditional notions of fair play and substantial justice. Plaintiffs allege

    that Dr. Douglas engaged in nominal acts subjecting him to personal jurisdiction

    in the United States (Compl., ¶¶ 43–44, 53, 73), but these acts are far from adequate

    to establish the minimum necessary contacts to satisfy either general or specific

    jurisdiction under Rule 4(k)(2).

           As to general jurisdiction, Plaintiffs allege merely that Dr. Douglas’ actions

    of bringing Caribbean Galaxy into St. Kitts impacted U.S. investors’ ability to

    realize an investment; he accepted a fee in USD for every CBI share sold through

    CS Global; Defendants collectively used Miami branches of correspondent banks,

    including Bank of America, Wells Fargo, BNY Mellon, and JP Morgan Chase; and

    he and the other Defendants engaged in “business in furtherance of the scheme”

    during a single diplomatic or official trip to New York to participate in the United

    Nations General Assembly. (Id. ¶¶ 43–44, 53, 73.)




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          These alleged contacts are not sufficiently “pervasive, continuous, and

    systematic” to establish general jurisdiction over Dr. Douglas. See Fraser, 594 F.3d

    at 849–50. In particular, the bare allegation that Defendants used USD and Miami

    branches of correspondent banks does not establish jurisdiction. See, e.g., Daccache,

    2018 WL 2248409, at *15 (S.D. Fla. May 15, 2018) (finding “wiring money into

    [the forum] is insufficient contact with [the forum] to justify personal jurisdiction

    and comply with the Due Process Clause” even when the forum is the end

    destination for the wired funds); Hau Yin To, 2017 WL 816136, at *7 n.6; Cmty.

    Fin. Grp., 2015 WL 4164763, at *4. Further, the alleged provision of services to

    American citizens outside the United States and limited interaction during a single

    trip to the United States in connection with official duties at the United Nations

    General Assembly does not establish the pervasive contacts necessary to establish

    general jurisdiction. Moreover, Dr. Douglas is entitled to full diplomatic immunity

    while appearing and promoting the interests of St. Kitts as a temporary

    representative during the United Nations General Assembly. See Tachiona v. U.S.,

    386 F.3d 205, 214–20 (2d Cir. 2004). Dr. Douglas also does not engage in other

    actions, such as residing in the United States, owning property in the United States,

    maintaining a personal bank account, engaging in or carrying on a business

    venture, or having an office or agency in Florida or elsewhere in the United States

    that would provide a basis for general jurisdiction over him. (See Declaration of




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    Dr. Denzil Douglas, Doc. 116-3, (“Douglas Decl.”), ¶¶ 7-11.)

           Plaintiffs’ same threadbare allegations do not establish specific jurisdiction

    over Dr. Douglas. His alleged contacts do not give rise to Plaintiffs’ causes of

    action, do not show that Dr. Douglas purposefully availed himself of forum

    benefits, and do not establish that Dr. Douglas could reasonably anticipate being

    haled into court here. Dr. Douglas’s trip to New York to attend the United Nations

    General Assembly and purported use of Miami branches of correspondent banks

    do not give rise to Plaintiffs’ RICO or tortious interference claims. Such limited

    activity also does not show that Dr. Douglas purposefully availed himself of any

    benefits of the United States by performing official or diplomatic duties in a single

    visit to the United States and allegedly using local branches of correspondent banks.

    Dr. Douglas also should not have anticipated being haled into court in the District

    because of such activities, as these activities have no bearing on Plaintiffs’ claims.

    Given the lack of minimum contacts and as a matter of fairness, the Court should

    not require Dr. Douglas to litigate Plaintiffs’ claims in this foreign legal system, but

    instead, the Court should dismiss Plaintiffs’ claims for lack of personal jurisdiction.

                         d.     CaribTrust Defendants

           Plaintiffs similarly fail to establish personal jurisdiction as to the CaribTrust

    Defendants. The Complaint contains a single factual allegation relating to personal

    jurisdiction as to the CaribTrust Defendants, which is that they provided CBI




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    consultation services for clients potentially seeking to obtain access to the United

    States after obtaining a St. Kitts passport. (Compl. ¶¶ 45(a), 47(a).) Although the

    Complaint frames this as “direct[ing] business at the United States” (id.), it is no

    such thing—it is providing escrow agent services to clients who may themselves, at

    a later date, choose to travel to the United States among many other countries they

    have access to with a St. Kitts and Nevis passport. 15 Such alleged contacts are far

    “too attenuated” and speculative to support personal jurisdiction. Herederos, 535

    F. Supp. 3d at 1306. Indeed, if such a speculative theory, premised only on clients

    who might at some point in the future be interested in travel to the U.S., sufficed to allege

    personal jurisdiction, small business operators worldwide, no matter how local

    their operations, would be unfairly subject to costly litigation in U.S. courts.

            At most, CaribTrust maintains a website that could be accessed by potential

    clients in the United States, but it contains no targeted advertising directed toward

    them. (Declaration of Jacqueline Lawrence, Doc. 116-4 (“Jacqueline Decl.”), ¶

    13.) In fact, to date, CaribTrust has serviced no clients or generated any revenue

    from clients in the United States, further evincing that it does not “direct business”

    to this forum. (Jacqueline Decl. ¶ 14.) See Turi v. Stacey, No. 5:13-cv-248, 2014


    15
       Additionally, recipients of a St. Kitts passport are legally required to obtain a visa to travel to
    the United States. See, e.g., Ministry of Foreign Affairs, Citizens of Saint Kitts & Nevis need visas
    to travel to these countries, https://www.foreign.gov.kn/citizens-of-st-kitts-nevis-need-visas-to-
    travel-to-these-countries/ (last visited October 23, 2024). This visa application process does not
    guarantee entry into the United States, further evincing how tenuous Plaintiffs’ theory is to support
    personal jurisdiction.



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    U.S. Dist. LEXIS 181228, at *41-42 (M.D. Fla. Nov. 25, 2014) (“while all of the

    distributors’ websites likely are as accessible from Florida as they are from any

    other state or anywhere in the world where Internet access is available, such

    accessibility does not amount to ‘purposeful availment’ of conducting activities

    with Florida” or deem to be sufficient activity to “find minimum contacts”), report

    and recommendation adopted, 2015 WL 403228 (M.D. Fla. Jan. 28, 2015).

           The remaining purportedly jurisdictional allegations either pertain to acts

    outside the United States or are stated in entirely conclusory terms and should not

    be credited. For instance, Plaintiffs allege that Lawrence “acted as a courier of cash

    payments” to Dr. Harris and Dr. Douglas (Compl. ¶¶ 25, 47(b), 87), but this is not

    alleged to have occurred in the United States. The Complaint also alleges that the

    CaribTrust Defendants “conducted business related to the enterprise during the

    entire period at issue” (id. ¶ 45(b), 47(c)), but alleging contacts with an “enterprise”

    or as part of a conspiracy fails to satisfy any personal jurisdiction standard. Even

    where conspiracy claims are alleged in a complaint, a defendant’s relationship with

    the forum “must arise out of contacts that the defendant himself creates with the

    forum[.]” Walden, 571 U.S. at 284 (cleaned up & emphasis in original).

           Additionally, the conclusory allegation that the conduct of the CaribTrust

    Defendants was “directed at Plaintiffs in the United States” (Compl. ¶¶ 46, 48)

    should not be credited, especially given that Plaintiffs allege no facts suggesting that




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    these defendants’ conduct—routine escrow agent activity—was directed at anyone

    in the United States, much less Plaintiffs. To the extent that Plaintiffs suggest some

    downstream effects were felt in the United States, these, too, would be insufficient.

    A defendant’s actions, not the effects resulting from those actions, are what matters

    for personal jurisdiction.      See Herederos, 43 F.4th at 1311 (determining the

    “incidental effects of a defendant’s actions are not by themselves sufficient to justify

    jurisdiction over the defendant in the forum”) (citing World-Wide Volkswagen Corp.

    v. Woodson, 444 U.S. 286, 295–96 (1980) (finding no jurisdiction where the only

    contact was injury in the forum)).

              Given the paucity of jurisdictional facts pleaded, application of the

    minimum contacts test is abbreviated. There simply are no contacts alleged with the

    United States, so there could be no minimum contacts that demonstrate the

    CaribTrust Defendants “purposefully availed” themselves of this forum, and the

    Court’s analysis can end here. See, e.g., Castillo v. Allegro Resort Mktg., 603 Fed. App’x

    913, 916 (11th Cir. 2015) (conclusory allegations that a foreign company had

    contacts with Florida were insufficient to establish minimum contacts with the

    state).

              An exercise of jurisdiction in this case would also surely offend notions of

    fair play and substantial justice. It is undisputed that CaribTrust is an escrow agent

    operating exclusively in St. Kitts and that Lawrence resides in St. Kitts. (Compl.




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    ¶¶ 24-25.)     Additionally, neither CaribTrust nor Lawrence have operated,

    conducted, or engaged in or carried on a business venture, or had an office or

    agency in Florida or elsewhere in the United States.           (Declaration of Faron

    Lawrence, Doc. 116-5 (“Lawrence Decl.”), ¶ 10; Jacqueline Decl. ¶ 7). CaribTrust

    has serviced no clients nor generated any revenue from clients in the United States.

    (Jacqueline Decl. ¶ 14.) While the Complaint asserts in a conclusory fashion that

    all Defendants derive “substantial financial benefit” by using banks located in

    Miami (Compl. ¶ 53), neither CaribTrust nor Lawrence maintain a bank account

    in any bank operated in the United States. (Lawrence Decl. ¶ 5; Jacqueline Decl.

    ¶ 4.)

            The burden to litigate in Florida would be substantial, given that the

    CaribTrust Defendants are both located in St. Kitts. (Compl. ¶¶ 24-25.) Allowing

    this action to go forward against the CaribTrust Defendants, who have zero

    contacts with this forum and this country, would subject them to a deeply unfair

    burden. The claims against them should be dismissed.

                         e.     Emmanuel

            Finally, Plaintiffs fail to establish personal jurisdiction as to Emmanuel.

    Plaintiffs allege only that Emmanuel promoted the Saint Lucia CIP in the United

    States on two occasions. (Compl. ¶ 51, 111.) This does not satisfy the minimum

    contacts test. See Sea Lift, 792 F.2d at 993 (finding that the “mere ‘foot-fall’” on the




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    forum’s soil does not invoke jurisdiction). First, Plaintiffs claims do not relate to

    or arise from these two conferences. Again, whether contacts give rise to a claim

    requires an analysis of “the direct causal relationship among ‘the defendant, the

    forum, and the litigation,’” Oldfield, 558 F.3d at 1222 (quoting Helicopteros, 446 U.S.

    at 414), or whether a claim relates to the defendant’s contacts with that forum.

    SkyHop Techs., Inc. v. Narra, 58 F.4th 1211, 1229 (11th Cir. 2023) (citing Ford Motor

    Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 361–62 (2021)). For but-for

    causation to exist, there must be a causal link between the contact and the alleged

    tort and additional circumstances that would suffice to put a defendant on notice

    that he may be subject to jurisdiction in the United States. Oldfield, 558 F.3d at

    1223.

            Plaintiffs can neither show but-for causation nor establish that the claim

    relates to Emmanuel’s contacts with the United States. No Plaintiff owns any

    shares in the Saint Lucia CIP. No Plaintiff took any action because of these

    conferences. No Plaintiff can allege their position changed because of these

    conferences. Plaintiffs do not allege any of the purported fraudulent action took

    place at any of these conferences. If Emmanuel had elected to stay home, no

    material aspect of the Complaint would change. Plaintiffs cannot show but-for

    causation or that any claim relates to Emmanuel’s contacts with the United States.

            Nor can Emmanuel’s limited contacts constitute his purposeful availment




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    of the United States as a forum. Limited or discrete solicitation in the forum,

    without more, does not rise to the level of purposeful availment. Sea Lift, 792 F.2d

    at 994 (noting that courts have found purposeful availment where there is

    solicitation coupled with an expectation of either a continuing relationship or in-

    forum performance by the plaintiff). Even a meeting in the forum to discuss a

    contract that was eventually executed may not suffice to establish jurisdiction. Id.

    at 993–94 (finding no jurisdiction where discussion of a “boilerplate” contract in

    Florida involved no significant negotiations of important terms). As Plaintiffs

    cannot establish personal jurisdiction over Emmanuel (or any other Defendant),

    Plaintiffs’ claims should be dismissed.

          B.     Plaintiffs Cannot Establish Personal Jurisdiction Based on a
                 Group- or Conspiracy-Based Theory.

          Plaintiffs cannot cure their inability to establish personal jurisdiction as to

    any Defendant individually by relying on the pervasive group pleading in the

    Complaint to establish jurisdiction. Andres v. Raytheon Techs. Corp., No. 21-61757-

    Civ-Scola, 2022 WL 1015489, at *3 (S.D. Fla. Apr. 5, 2022) (defendants cannot be

    lumped together without distinction to establish personal jurisdiction). Plaintiffs

    also cannot premise personal jurisdiction on a conspiracy theory among

    Defendants because Rule 4(k)(2) does not allow for jurisdiction on a conspiracy-

    based theory. Schrier v. Qatar Islamic Bank, 632 F. Supp. 3d 1335, 1366–67 (S.D.

    Fla. 2022) (collecting cases and noting this is the general view among the federal



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    courts and that “[n]o federal court in the country … has ever applied a conspiracy-

    based theory of jurisdiction under Rule 4(k)(2)”).

                                      CONCLUSION

          For the foregoing reasons, Defendants respectfully request that this Court

    dismiss the Complaint with prejudice.

                       LOCAL RULE 3.01(g) CERTIFICATION

          Pursuant to M.D. Fla. L. R. 3.01(g), on October 30, 2024, counsel for

    Defendants conferred with Plaintiffs’ counsel via email regarding this motion, and

    Plaintiffs oppose the requested relief.




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      Dated: November 1, 2024                       Respectfully submitted,



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                              CERTIFICATE OF SERVICE

          I certify that on November 1, 2024, I electronically filed the foregoing with

    the Clerk of the Court by using the CM/ECF system, which will send a notice of

    electronic filing to counsel of record.

                                                      /s/ Christopher D. Joyce
                                                      Attorney




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